                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
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Integrated Process Solutions, Inc.,
                                                                    Court File: 19-CV-00567
                                                                       Hon. Nancy E. Brasel

                       Plaintiff,

vs.

Lanix, LLC, Kevin Landsverk, and
Dylan Dyke,

                       Defendants.

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   OPPOSITION TO MOTION FOR TEMPORARY RESTRAINING ORDER
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           Defendants, Lanix, LLC, Kevin Landsverk, and Dylan Dyke respectfully submit

the following Memorandum of Law in support of their opposition to Plaintiff Integrated

Process Solutions, Inc.’s motion for temporary restraining order.

      I.      INTRODUCTION

           Kevin Landsverk (“Landsverk”) is a former employee of Integrated Process

Solutions, Inc. (“IPS”). He was not happy with how IPS was treating him. IPS had

promised him raises, bonuses and commissions on projects that he helped sell, but never

followed through on these promises. As he considered his options, he thought of starting

his own small company through which he could do work on his own, and formed a

company called Lanix, LLC. He is the sole owner of Lanix.


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       On February 8, 2019, Landsverk gave notice to IPS that he was leaving. He

worked to finish up his projects at IPS and transition his work through February 11, 2019,

his last day of employment. Landsverk did not have any written agreement with IPS that

restricted the work he could do after he left IPS.

       Landsverk set up Lanix to focus on a very small niche market - controls for

Industrial Refrigeration including the use of Ammonia as the refrigerant. While he did

some of this work at IPS, IPS did not market this work as it focused on industrial

municipal operators of water and waste-water systems.

       Following his termination of employment, IPS reviewed text messages on

Landsverk IPS work phone. These text messages were with one of his best friends,

Defendant Dylan Dyke (“Dyke”). Some of the texts quoted by IPS create the appearance

that Landsverk took IPS information. However, he did not.

       Despite receiving written assurances from Landsverk on March 6, 2019 that he

never copied data from the backup server and has no copies of any such data other than

the hard drives he has agreed to return, he has not used any IPS information for

competitive purposes or otherwise, and, while he intends to keep working with Corval, he

will not solicit any other IPS customer to provide the same or similar services IPS

provides for a period of one year; IPS filed this law suit which is a huge fishing

expedition and waste of time and money. IPS includes Dyke as a defendant despite the

fact that he has no contractual relationship with IPS and there is no evidence he received

any IPS information that IPS did not disclose to his employer, Corval Group, who could

use the information as it saw fit.

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         The reality is that IPS’ purported trade secret information is available to its

customers like Corval and the end users of PLCs. For example, once Corval buys a PLC

from IPS, all information related to the PLC is available to Corval and its customer where

the PLC is installed and the program used to run the PLC can be downloaded by anyone

with access to the PLC. This is specifically why Corval requires its integrators use Allen

Bradley which is basically open source software that allows the program and its operator

interface to be downloaded, changed, and uploaded by any person who has an Allen

Bradley license.

         The further reality is that IPS has suffered no harm, let alone irreparable harm to

support its motion. Lanix is not a “rival.” IPS has made no attempt to solicit the limited

work that Lanix has received from Corval.

         Accordingly, there is absolutely no basis for the extraordinary relief that IPS

seeks.

   II.        RESPONSE TO FACTUAL BACKGROUND

         A.     IPS Business.

                1.    IPS does not focus on PLCs for Industrial Refrigeration including
                      the use of Ammonia as the refrigerant.

         IPS designs and builds integrated electrical control systems which are also called

programmable logic controllers (“PLC”). As stated in IPS’ Complaint, IPS focuses its

service on “industrial municipal operators of water and waste-water systems”.

(Complaint ¶10). IPS does not specifically identify or market that they provide controls

for Industrial Refrigeration including the use of Ammonia as the refrigerant. (Landsverk

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Dec., ¶4). In other words, IPS did not focus on the small niche market of controls for

Industrial Refrigeration including the use of Ammonia as the refrigerant when Landsverk

was there; and has made no effort to go after business in that market by hiring persons

with that experience. In fact, since Landsverk gave notice on February 8, 2019, IPS has

made no effort to contact Corval about doing that work for Corval. (Dyke Dec., ¶18).

               2.   IPS’ relationship with Corval.

      Dyke has known Landsverk since 2005 when they met in college and they have

been close friends ever since. (Dyke Dec. ¶4; Landsverk Dec. ¶11). Dyke introduced

Landsverk to Corval when Kevin Landsverk was working at IPS. Dyke knew that Kevin

had some experience with PLCs for Industrial Refrigeration Systems using ammonia as

the refrigerant because he had previously worked with him. IPS began biding on some

Corval projects and Dyke recommended IPS for some of those jobs based upon

Landsverk managing the project. (Id.).

      Corval is a general contractor that would buy a PLC from IPS that would be used

in a project for a Corval customer (the end user). The Corval customer then owns the

PLC. (Dyke Dec. ¶15).

      When IPS did work for Corval, it submitted a bid and, if the bid was successful

and IPS was awarded the work, IPS would acknowledge Corval’s standard purchase

order for the work. There were no other written agreements or terms between Corval and

IPS. (Dyke Dec. ¶7). IPS would share information with Dyke regarding its design and

build process for PLCs including: drawings, programing information, and other design

information.    IPS never asked Dyke or Corval to sign any type of non-disclosure

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agreement with regard to this information. This did not surprise Dyke because Corval

required that integrators like IPS that it worked with to use Allen Bradley programming

software.    The reason for this was that Corval and/or its customers could use any

integrator to work on the PLCs it received because the Allen Bradley software was for

sale to the public. (Dyke Dec. ¶8).

      IPS, its owner, or its employees have never contacted Dyke since Landsverk left to

ask about or bid work for Corval. IPS has never contacted Corval regarding who would

be replacing Landsverk or has the skill set to continue to work on or for Corval and its

needs for an Industrial Refrigeration Integrator. (Dyke Dec. ¶18).

            B. Landsverk’s Employment at IPS

      Landsverk began work for IPS on June 17, 2013. He did not have a written

employment agreement. He just received an offer letter with basic information about his

salary and benefits. He was never asked to sign a confidentiality agreement or non-

compete agreement and he is not aware of other employees having to sign such

agreements. (Landsverk Dec., ¶2).

      During his employment with IPS, Landsverk had many duties. At the time of his

termination, he was working as an IT Specialist and Project Manager. Landsverk gave

his two-week notice on February 8, 2019. Even though he was willing to stay longer,

Landsverk’s last day of employment with IPS was February 11, 2019. Contrary to the

allegations in the Complaint, during the final two weeks of his employment with IPS,

Landsverk worked to complete and/or transition the following projects: J001322 - Dold

PCBE - remote startup services; J001386 - Shorewood - factory testing; J001414 -

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Bellisio SSHE - remote startup services; IT support assisting IPS personnel setting up

their VPN. (Landsverk Dec., ¶17).

          C. The Alleged Conspiracy

      Following his termination of employment, IPS reviewed text messages between

Dyke and Landsverk on Landsverk’s IPS work phone he returned. Some of the texts

quoted by IPS could create the appearance that Landsverk took IPS information.

However, he did not.

                  1.       Alleged Kickback Scheme.

      The reality is that Landsverk never paid Dyke anything. Dyke has no ownership

interest in Lanix and he and Landsverk have no agreement to pay him a referral fee or

kickback. Dyke cannot accept any such payment while he works for Corval. Moreover,

this allegation of an “illegal” kickback scheme is disingenuous as Mr. Nelson had

instructed Landsverk to offer Dyke payments to get work. (Landsverk Dec., ¶15).

                  2.       The Backup Server

      During Landsverk’s employment at IPS, he was asked to, and did, set up a back-

up server at his home. This was a redundancy to protect IPS in the event its server went

down. At IPS, no one works locally on a computer. IPS employees work directly off the

server or through “OwnCloud” which is a virtual document system like drop box that is

synched to the IPS server. (Landsverk Dec., ¶18).

      When he gave his notice, Peter Nelson asked Landsverk to maintain the back-up

server. On February 14, 2019, Mr. Nelson contacted Landsverk and was upset and made

threats. As a result, Landsverk shut down the back-up server at his house. Landsverk

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maintained all the electronic information from the back-up server on hard drives and told

Mr. Nelson that he could make arrangements to pick them up or send someone out to

Landsverk’s house to monitor erasing the data. Mr. Nelson never made arrangements to

pick them up or directed Landsverk to send the hard drives anywhere. It was not until

March 11, 2019 that counsel for IPS ask that Landsverk deliver the hard drives to: Bryan

Behrendt, Discovery Consultant, XACT DATA DISCOVERY, 733 Marquette Ave

South, Suite 125, Minneapolis, Minnesota 55402, which Landsverk did on March 13,

2019. (Landsverk Dec., ¶19).

      While Landsverk bragged about having multiple routes back into IPS’ server.

This is referring to three backup domain administrator accounts on the domain controller.

When Landsverk learned that IPS no longer wanted him to maintain the backup server,

he called Peter Nelson and told him about the backup domain administrator accounts. He

also texted him the passwords for the accounts so that he could change these accounts

and Landsverk would no longer have access. (Landsverk Dec., ¶20).

                  3.       Alleged Trade Secrets

      IPS accuses Landsverk of taking Autocad files. Landsverk did not take Autocad

files. Landsverk bought Autocad LT, a very simple version of Autocad, and the software

he needed to program PLCs, which he could get through an Allen Bradley license.

Landsverk uses those tools to draw designs and program PLCs. (Landsverk Dec., ¶27).

      IPS would share information with Corval regarding its design and build process

for PLCs including: drawings, programing information, and other design information.

IPS never asked Dyke or Corval to sign any type of non-disclosure agreement with regard

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to this information. This did not surprise Dyke because Corval required that integrators

like IPS that it worked with to use Allen Bradley programming software. The reason for

this was that Corval and/or its customers could use any integrator to work on the PLCs it

received because the Allen Bradley software was for sale to the public. (Dyke Dec., ¶8).

      Landsverk did not steal financial information. He sent Dyke one Excel spread

sheet that had the revenue for the Dold project for 2018 listed on it. He sent the

information to show he was not getting a bonus despite IPS getting a lot of revenue from

that project he brought in. Obviously, because it was a Corval project, Dyke could see

how much Corval paid IPS on that project. (Landsverk Dec., ¶22).

          D. The Alleged Spoliation

      Lansverk reset his IPS computer. He did this because it was what he had been

instructed to do with other employee computers when they left and thought he was

following company policy by getting the computer ready for someone else to use. Any

information on Landsverk’s IPS computer should be copied on the IPS server.

(Landsverk Dec., ¶21).

   III.   ARGUMENT

      The Court is familiar with the factors set forth in Dataphase Sys., Inc. v. C L Sys.,

Inc. 640 F.2d 109 (8th Cir. 1981). IPS cannot meet it is burden of proof under Dataphase.




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   I.      IPS Has Not, And Cannot, Establish Irreparable Harm.

        A temporary restraining order or injunction is an extraordinary equitable remedy

and IPS must offer specific facts demonstrating irreparable harm before injunctive relief

may issue. IPS has not submitted evidence of specific facts establishing irreparable

harm.

        First, IPS alleges that Landsverk is attempting to start a rival company. However,

the evidence shows that Landsverk is simply working on his own and focusing on a very

small niche market - controls for Industrial Refrigeration including the use of Ammonia

as the refrigerant. IPS focuses its service on “industrial municipal operators of water and

waste-water systems”. IPS does not specifically identify or market that they provide

controls for Industrial Refrigeration including the use of Ammonia as the refrigerant.

Moreover, IPS has never contacted Corval to try and continue work in this area.

        Second, IPS asks the Court to “infer” irreparable harm based upon an alleged

misappropriation of a trade secret. For the reasons discussed below, IPS cannot establish

all the elements of its misappropriation of trade secret claim. Accordingly, the court may

not infer irreparable harm on that basis.

        Third, IPS is attempting to create a restrictive covenant where none exists. IPS is

asking this court to stop Landsverk from working at Lanix, and thus, is trying to create a

non-compete where none exists. It is important to remember that restrictive covenants

are disfavored by Minnesota law and strictly construed against the employer. Freeman v.

Duluth Clinic Ltd., 334 N.W.2d 626, 630 (Minn. 1983); National Recruiters Inc. v.

Cashman, 323 N.W.2d 736, 740 (Minn. 1982); Jim W. Miller Construction, Inc. v.

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Schaefer, 298 N.W.2d 455, 458 (Minn. 1980); Bennett v. Storz Broadcasting Co., 134

N.W.2d 892, 898 (Minn. 1965).

         Finally, IPS makes no showing as to why money damages would not be sufficient

if it were to prevail on any of its claims.

   II.      IPS Has Not Established a Likelihood of Success on the Merits.

            a. Duty of Loyalty

         IPS’ duty of loyalty claim is essentially a repackaging of its misappropriation of

trade secrets claim. In Superior Edge, Inc. v. Monsanto Co., the Minnesota federal

district court denied a motion to dismiss a claim under the MUTSA and granted a motion

to dismiss a conversion claim when “there [was] no information that [plaintiff] allege[d]

was converted that it [did] not also allege is a trade secret.” 964 F.Supp.2d 1017, 1039–

40 (D.Minn.2013); see also SL Montevideo Tech., Inc. v. Eaton Aerospace, LLC, 292

F.Supp.2d 1175 (D.Minn.2003) (denying rule–12 motion to dismiss claim under the

MUTSA and granting motion to dismiss common-law conversion and tortious-

interference    claims   when     common-law       claims   alleged   nothing   more   than

misappropriation of trade secrets). The common-law claims asserted by IPS, are all based

on information IPS claims as a trade secret. As in Monsanto and SL Montevideo, IPS

identifies no information that is confidential and proprietary that differs from the

information claimed to be a trade secret. Accordingly, the Court IPS’ common-law

claims for Breach of Duty of Loyalty, Unjust Enrichment and Civil Conspiracy are

subject to a motion to dismiss.



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      Moreover, an employee may prepare to leave a company while an employee and

not breach his duty of loyalty. That is all that Landsverk did. He did not submit a bid to

Corval until after he terminated his employment. Although he may have had some

discussions with Dyke about the potential for work at Corval, Dyke did not have

authority to award Landsverk work which would have to go through a bid process. Thus,

Landsverk did not breach any duty of loyalty he may have had to IPS.

          b. Misappropriation of Trade Secrets

      To prevail on a claim under the Uniform Trade Secrets Act, Minn. Stat. §§

325C.01–.08 (2014), IPS must show both the existence and misappropriation of a trade

secret. Electro–Craft Corp. v. Controlled Motion, Inc., 332 N.W.2d 890, 897

(Minn.1983). The act defines a trade secret as information that (1) is not generally known

or readily ascertainable; (2) derives independent economic value from secrecy; and (3) is

the subject of efforts that are reasonable under the circumstances to maintain secrecy.

Minn. Stat. § 325C.01, subd. 5(i), (ii); Electro–Craft Corp., 332 N.W.2d at 899–901. If

an employee acquires a trade secret without express notice that it is a trade secret, then

the employee must know or have reason to know that the owner expects secrecy. Minn.

Stat. § 325C.01, subd. 5. IPS cannot prove each of these elements.


                 i. IPS has not identified trade secrets




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       IPS alleged trade secrets falls into three categories: 1) Customer information; 2) its

bidding process; and 3) software programming and other IPS designed control codes.

None of this information arises to the level of a trade secret.

       Customer information like customer-lead lists are generally not trade secrets. See

Blackburn, Nickels & Smith, Inc. v. Erickson, 366 N .W.2d 640, 645 (Minn.App.1985)

(holding that a customer list did not constitute a trade secret because “[i]t could be easily

duplicated from public sources”), review denied (Minn. June 24, 1985). The information

contained in customer-lead lists is often “readily ascertainable by proper means” over the

course of time without efforts beyond those ordinarily exerted by salesmen in developing

customers.” Fleming Sales Co. v. Bailey, 611 F.Supp. 507, 514 (N.D.Ill.1985).

Information regarding IPS’ customers and its sales to customers is readily ascertainable

by proper means.

       IPS’ bidding information is made available to its customers without any

requirement that they not share it.      Moreover, the majority of IPS bids are public

information because they bid on public projects. Thus, bidding information does not

meet the definition of a trade secret.

       IPS’ software programming and other IPS designed control codes are not a trade

secret because IPS provides the information to its customers and is required to use open-

source software. IPS does not require that its customers license its purported proprietary

software programming and other IPS designed control codes or otherwise enters into

agreements with its customers preserving any rights IPS may have in proprietary

information. IPS simply acknowledges the customer purchase order. The reality is that

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IPS customers could use any integrator to work on PLCs bought from IPS because the

Allen Bradley software was for sale to the public and the customer owns the design for

the PLC.

                 ii. IPS did not take reasonable steps to protect its alleged trade secrets.

       IPS argues it took reasonable steps to protect its alleged trade secrets by “limiting

access to its offices” and “requiring employees to use passwords.”                 However,

conspicuously absent from IPS’ submissions is any evidence limiting employees to

information based upon a need to know basis; implementing written policies on computer

usage or confidential information; or marking information as confidential. Moreover, the

undisputed evidence is that IPS did not require their employees or customers to sign any

sort of document that protected the confidentiality of information provided to them by

IPS.

                iii. There is no evidence of misappropriation

       IPS has no evidence that either Defendant “misappropriated” any trade secret. All

that has been shown is that Landsverk had access to information while employed. Other

than that, IPS’ entire argument is based upon speculation because of the text messages

between Dyke and Landsverk.


           c. Computer Fraud and Abuse Act

       IPS is not likely to succeed on this claim. First, there is no evidence that

Landsverk accessed any IPS computer at a time when he did not have authorization. The

CFAA does not include any definitions of the terms "access" or "without authorization."


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The CFAA defines "exceeds authorized access," as meaning "to access a computer with

authorization and to use such access to obtain or alter information in the computer that

the accessor is not entitled so to obtain or alter." 18 U.S.C. 1030(e)(6). The lack of a

statutory definition of what qualifies as "access," or accessing a computer "without

authorization," however, has created a split between the Circuits of the U.S. Court of

Appeals over what actions by an employee qualify as exceeding authorized access under

the CFAA.

      The First, Fifth, Seventh, and Eleventh Circuits of the U.S. Court of Appeals

broadly read the CFAA as covering employees who misuse data obtained from an

employer-provided computer—even when the employee was authorized to obtain data

from the employer's computer. As a general rule, these courts focus on the employer's

computer use policies and the intended use of the data by the employee as significant

factors when determining whether the CFAA covers the employee's complained of access

and use of data from the employer's computers. See United States v. Rodriguez, 628 F.3d

1258, 1263 (11th Cir. 2010), cert. denied, 563 U.S. 966 (2011) United States v. John, 597

F.3d 263, 272 (5th Cir. 2010), cert. denied, 568 U.S. 1163 (2013); Int'l Airport Ctrs.,

L.L.C. v. Citrin, 440 F.3d 418, 420-21 (7th Cir. 2006); and EF Cultural Travel BV v.

Explorica, Inc., 274 F.3d 577, 581-84 (1st Cir. 2001).

      The Fourth and Ninth Circuits—and arguably the Second Circuit—however,

narrowly interpret the CFAA as focused on whether the employee's access to an

employer's computer was authorized and disregard or downplay the misuse analysis. See

United States v. Valle, 807 F.3d 508, 526-28 (2nd Cir. 2015); WEC Carolina Energy

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Solutions LLC v. Miller, 687 F.3d 199, 203-07 (4th Cir. 2012); and LVRC Holdings

L.L.C. v. Brekka, 581 F.3d 1127, 1135 (9th Cir. 2009).

      Defendants submit that this court should follow the more narrow interpretation.

However, under either interpretation there is no evidence that Landsverk accessed any

IPS computer when he did not have authorization to access it or that he misused it. All

IPS submits is speculation.

      IPS argues that “Landsverk deliberately retained access to IPS’ server after he

resigned and no longer had authorization. However, this is not true. When Landsverk

gave notice, Peter Nelson asked him to maintain the back-up server. On February 14,

2019, Mr. Nelson contacted Landsverk and was upset and made threats. As a result,

Landsverk shut down the back-up server at his house; maintained all the electronic

information from the back-up server on hard drives; and told Mr. Nelson that he could

make arrangements to pick them up or send someone out to his house to monitor erasing

the data. Mr. Nelson never made arrangements to pick them up or directed Landsverk to

send the hard drives anywhere. It was not until March 11, 2019, almost one month later,

that counsel for IPS ask that Landsverk deliver the hard drives to: Bryan Behrendt,

Discovery Consultant, XACT DATA DISCOVERY, 733 Marquette Ave South, Suite

125, Minneapolis, Minnesota 55402, which I did not March 13, 2019.

      In addition, while Landsverk may have bragged, while employed, about having

multiple routes back into IPS’ server, he was referring to three backup domain

administrator accounts on the domain controller. When Landsverk learned that IPS no

longer wanted him to maintain the backup server, he called Peter Nelson and told him

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about the backup domain administrator accounts. He also texted him the passwords for

the accounts so that he could change these accounts and Landsverk would no longer have

access.

          Accordingly, there is no evidence that Landsverk accessed an IPS computer when

not authorized.

   III.      The Balance of Harms Weigh in Favor of Landsverk.

          IPS seeks to prevent Landsverk from working in the industry where he has

acquired his own personal experience and skill. This is improper. See, Jim W. Miller

Cons. Inc. v. Schaefer, 298 N.W.2d 455 (1980); See, FSI International, Inc. v. Shumway,

2002 WL 334409 (D. Minn.). This is especially so when the evidence establishes that

IPS is not working the PLC for Industrial Refrigeration niche, has not written agreement

with Landsverk that includes a restrictive covenant, and must acknowledge that the tools

used by Landsverk are publically available. Thus, there is no threat or harm to IPS

purported confidential information goodwill.

   IV.       Public Policy Favors Denying the Injunction.

          In Minnesota, restrictive covenants and non-competition agreements are

disfavored by the law as partial restraints of trade which are strictly construed against the

employer and in favor of the employee. Freeman v. Duluth Clinic Ltd., 334 N.W.2d 626,

630 (Minn. 1983); National Recruiters Inc. v. Cashman, 323 N.W.2d 736, 740 (Minn.

1982); Jim W. Miller Construction, Inc. v. Schaefer, 298 N.W.2d 455, 458 (Minn. 1980);

Bennett v. Storz Broadcasting Co., 134 N.W.2d 892, 898 (Minn. 1965).              While no



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restrictive covenant or non-competition agreement exists in this case, IPS is seeking the

same result. Thus, public policy supports denying the injunction.

   V.      Expedited Discovery is Unnecessary and Overbroad.

        There is no need for expedited discovery. There is no unfair competition going

on. Lanix is not a “rival” of IPS. IPS is not even trying to get work from Corval.

Landsverk has no intent of soliciting IPS customers and there is no evidence that he has

solicited any IPS customers other than Corval.

        Moreover, the requested discovery is not proportional to the needs of this case.

The total amount of purchase orders awarded to Lanix is approximately $64,300.00. The

amount of money at issue in this case does not warrant the retention of third party

computer forensic experts, written discovery in a week, multiple depositions, etc… This

is especially so because Landsverk has returned all IPS information and assured them that

he has not, and will not, use any IPS information.

        However, if the court is inclined to order expedited discovery, Defendants should

have the opportunity to propound interrogatories and requests for production and take a

Rule 30(b)(6) deposition of IPS.

                                              MORRISON SUND PLLC

                                                    /s/ Scott S. Payzant
                                              By________________________________
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